                 Case 1:20-mj-00056-RAL Document 2 Filed 06/04/20 Page 1 of 1



                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                                v.                              Magistrate No. 20-56

 MELQUAN BARNETT

                 APPLICATION AND ORDER FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


        The undersigned Assistant United States Attorney hereby applies to the Court for the issuance of a writ of
habeas corpus ad prosequendum, and avers:

            1.       Name of Detainee: Melquan Barnett, 35824, Year of Birth: 1992, African American, Male.

            2.       Detained by: Erie County Prison.

         3.       Detainee is charged in this district by Complaint, charging detainee with violating Title 18, United
States Code, Section 844(i).

          4.      Detainee is presently confined in the Erie County Prison, Erie, Pennsylvania, awaiting a disposition
of state charges.

          5.       The above case is set for an Initial Appearance at Erie, Pennsylvania on June 4, 2020, at 10:30a.m,
and it shall therefore be necessary for detainee to be present in Court at that time.

            6.       The Warden of the Erie County Prison, Erie, Pennsylvania has no objection to the granting of this
petition.



                                                            s/Christian A. Trabold
                                                            CHRISTIAN A. TRABOLD
                                                            Assistant U.S. Attorney
                                                            PA ID No. 75013


                                                        ORDER

The above Application is granted and the above-named custodian, as well as the United States Marshal for this district,
are hereby ORDERED to produce the named detainee on the date and at the time recited above, and, when detainee
shall no longer be needed before the Court, detainee shall be returned to the above-named custodian.




DATE                                                     UNITED STATES MAGISTRATE JUDGE

cc:         United States Attorney
